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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: . : Chapter 11
ORION HEALTHCORP, INC.' : Case No. 18-71748 (AST)
_ __Debtors. _ (Jointly Administered)
HOWARD M. EHRENBERG IN HIS CAPACITY: .
- AS LIQUIDATING TRUSTEE OF ORION . : Adv. Pro. No..20-08049 (AST)
HEALTHCORP, INC., ET AL., :
: [Joint Statement of Uncontroverted
Plaintiff, : Facts and Additional Separate
: Statement of Facts, Affidavits Jeffrey
v. : P. Nolan, Frank Lazzara and Request

: For Judicial Notice Filed
ARVIND WALIA AND NIKNIM MANAGEMENT, : Concurrently Herewith]
INC. : .

Defendants.

AFFIDAVIT OF EDITH WONG IN SUPPORT OF PLAINTIFF'S
MOTION FOR SUMMARY JUDGMENT, OR IN THE
ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT, INC.

STATE OF NEW JERSEY

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COUNTY OF BERGEN

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246), Constellation Healthcare Technologies, Inc. (0135), NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100), Physicians Practice Plus, LLC (4122), Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Serv ices Corporation (7239), Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown), Northstar First Health, LLC (unknown), Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.

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Edith Wong, being duly sworn, deposes and says:

1. I am a Managing Director within the Forensic and Litigation Consulting
group at FTI Consulting (“FTI”) and a Certified Public Accountant (“CPA”) in the state of New
York. [have more than 16 years of experience in forensic accounting investigations. The facts
stated herein are of my own personal knowledge. If called upon as a witness to any facts set
forth herein, I could and would competently testify thereto.

2. I make this Affidavit in support of the accompanying Motion For Summary
Judgment, or in the Alternative Summary Adjudication, Against Defendants Arvind Walia and
Niknim Management, Inc. (the “Motion”).?

3. In September 2017, FTI was retained in connection with investigative and
advisory services regarding Constellation Healthcare Technologies, Inc. (“CHT”). I was part of
a team of FTI professionals (the “FTI Investigative Team”) who, in conjunction with Debtors’
counsel, conducted an investigation of the financial condition and business operations of CHT.
In connection with the investigation, the FTI Investigative team was granted access to the
records of the Debtors including, bank statements, accounts payable, accounts receivables,
vendor files, customer files, financial systems and email communications of the Debtors’
employees. I am familiar with the server which houses or maintains records within the Debtor’s
files in an electronic format having utilized it as part of my duties. As such, I am personally
familiar with the Debtors’ book and records.

4, Paul Parmjit Parmar, aka Paul Parmar, was the Chief Executive Officer of

the Debtor, Constellation Healthcare Technologies, Inc., a consolidated enterprise which

2 Capitalized terms not otherwise defined herein have the same meaning ascribed to them in the Motion.

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operated in the healthcare sector primarily in revenue and practice management for physician
practices.

5. The Debtor CHT maintained corporate bank accounts at M&T Bank.
Attached to this Affidavit as Exhibits A and B, are true and correct copies of M&T Bank

"Statements for February 2016 and August 2016, respectively, of the Debtor CHT (Ex. A, Ehren-
Walia 00138-140; 00147-148) as maintained and located within the business records of the
Debtors. On February 19, 2016, $5,058,408.81, was transferred out of the Debtor CHT bank
account (Ex. A, Ehren-Walia 00138) Again, On August 10, 2016, $12,740,000 was transferred
out of the Debtor CHT bank account to the IOLA account. (Ex. B, Ehren- Walia 00147)

6. The Debtor Orion Healthcorp Inc. maintained corporate bank accounts one
of which was at JP Morgan Chase Bank, N.A. Attached to this Affidavit as Exhibit C, is a true
and correct copy of the March 2017, JP Morgan Chase Bank, N.A. bank statement of the Debtor
Orion Healthcorp, Inc. with JP Morgan Chase Bank, N.A. as maintained and located within the
business records of the Debtors. (Ex. C, Ehren-Walia 00149-154) On March 10, 2017,

$5,590,000 was transferred out of the Debtor Orion bank account to the IOLA Account. (Ex. C,
Ehren- Walia 00152)

7. Attached to this Affidavit as Exhibit D is a true and correct copy of an
email chain from Paul Parmar dated December 1, 2014 (Ex. D, Ehren-Walia 005138-5140) as
maintained and located within the business records of the Debtors.

8. Attached to this Affidavit as Exhibit E are true and correct copies of
correspondence dated February 20, 2015 (Ehren-Walia 005141) as maintained and located within

the business records of the Debtors.

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9, Attached to this Affidavit as Exhibit F is are true and correct copy of the
Asset Purchase Agreement made and entered as of March [ ], 2015 (Ehren-Abruzzi 000002-
000076, as maintained and located within the business records of the Debtors and marked at the
deposition of Walia as Ex. 1.

10. Attached to this Affidavit as Exhibit G is a true and correct copy of
Disbursement Authorization and Itemization Form Re: Sale Of Porteck Corporation (Ehren-
Walia 000084-85 as maintained and located within the business records of the Debtors.

11. Attached to this Affidavit as Exhibit H, is a true and correct copy of an
email dated May 17, 2017 from Ted Brindamour to Arvind Walia and Paul Parmar with AllRad
Direct Due Diligence Findings [Draft Report] dated May 18, 2017 (Ehren-Walia 003966-00402)
as maintained and located within the business records of the Debtors.

12. Attached to this Affidavit as Exhibit I is a true and correct copy of the
multiple email exchange dated May 18, 2017 from Arvind Walia to Parmar and Zaharis (Ehren-
Walia 003977-3988) as maintained and located within the business records of the Debtors.

13. Attached to this Affidavit as Exhibit J is an email exchange between
Parmar, Walia and Zaharis dated May 31, 2017, (Ehren-Walia 004003-4006) as maintained and
located within the business records of the Debtors.

14. Attached to this Affidavit as Exhibit K is a true and correct copy of email
from Arvind Walia dated May 31, 2017, to Paul Parmar attaching the AllRad Direct Due
Diligence Findings [Draft Report] dated May 18, 2017 (Ehren-Walta (04019-4032) as

maintained and located within the business records of the Debtors.

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15. Attached to this Affidavit as Exhibit L is a true and correct copy of email
from Parmar to Robinson Brog dated May 31, 2017 (Ehren-Walia 004032) as maintained and
located within the business records of the Debtors.

16. Attached to this Affidavit as Exhibit M is a true and correct copy of email
from Walia to Parmar dated June 15, 2017, (Ehren-Walia 004413) as maintained and located
within the business records of the Debtors.

17. Attached to this Affidavit as Exhibit N is a true and correct copy of email
from Walia to Parmar dated June 19, 2017, (Ehren-Walia 004519) as maintained and located
within the business records of the Debtors

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

Executed this {(Z day of January, 2023, at Tenat (4 , NT

}
soe GIL CN (2

Notary Public, State of New Jersey 7
My Commission Expires Feb 14, 2027 EDITH WONG

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